     8:01-cr-00147-JFB          Doc # 97    Filed: 05/03/06     Page 1 of 1 - Page ID # 88



                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )             Case No. 8:01CR147
                                              )
                        Plaintiff,            )
                                              )
       v.                                     )                      ORDER
                                              )
ANTWON TOWNSELL,                              )
                                              )
                        Defendant.            )


       Defendant, Antwon Townsell appeared before the court on May 1, 2006 on a Petition for
Summons for Offender Under Supervision [92]. The defendant was represented by Assistant
Federal Public Defender, Karen Shanahan and the United States was represented by Assistant U.S.
Attorney Michael P. Norris. The defendant admitted allegations 2,3,4,5,6 and 7. Allegation 1 was
withdrawn by the United States. The defendant’s oral motion to continue final disposition is granted.
The government did not move for detention. The defendant was released on current conditions of
supervision.
       IT IS ORDERED:

       1.   The Federal Public Defender is reappointed to represent the above named defendant.
       2.      A final disposition hearing in this matter is scheduled in Courtroom 3, Third Floor,
Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 2:30 p.m., on
August 4, 2006. Defendant must be present in person.
       3. Defendant is released on current conditions of supervision.
       Dated this 3rd day of May, 2006.


                                              BY THE COURT:




                                              s/Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States District Judge
